Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5569 Filed 10/02/23 Page 1 of 19




                          Exhibit 69D:
     Dr. Anna Salter Deposition Exhibit 13
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5570 Filed 10/02/23 Page 2 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5571 Filed 10/02/23 Page 3 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5572 Filed 10/02/23 Page 4 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5573 Filed 10/02/23 Page 5 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5574 Filed 10/02/23 Page 6 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5575 Filed 10/02/23 Page 7 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5576 Filed 10/02/23 Page 8 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5577 Filed 10/02/23 Page 9 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5578 Filed 10/02/23 Page 10 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5579 Filed 10/02/23 Page 11 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5580 Filed 10/02/23 Page 12 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5581 Filed 10/02/23 Page 13 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5582 Filed 10/02/23 Page 14 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5583 Filed 10/02/23 Page 15 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5584 Filed 10/02/23 Page 16 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5585 Filed 10/02/23 Page 17 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5586 Filed 10/02/23 Page 18 of 19
Case 2:22-cv-10209-MAG-CI ECF No. 125-22, PageID.5587 Filed 10/02/23 Page 19 of 19
